









Affirmed and Opinion filed May 30, 2002









Affirmed and Opinion filed May 30, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-01-01013-CR

____________

&nbsp;

EDWARD LEE WASHINGTON, II, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 262nd District Court

Harris County, Texas

Trial
Court Cause No. 865,081

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

After a jury trial, appellant was convicted of the offense of
possession of a controlled substance.&nbsp; On
August 28, 2001, the trial court sentenced appellant to confinement for 30
years in the Institutional Division of the Texas Department of Criminal
Justice.&nbsp; Appellant filed a pro se notice
of appeal.








Appellant's appointed counsel filed a brief in which he
concludes that the appeal is wholly frivolous and without merit.&nbsp; The brief meets the requirements of Anders
v. California, 386 U.S. 738, 87 S.Ct. 1396, 18
L.Ed.2d 493 (1967), by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v. State, 573
S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and file a pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim.
App. 1991).&nbsp; As of this date, no pro se
response has been filed.

We have carefully reviewed the record and counsel=s brief and agree that the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed May 30, 2002.

Panel consists of Justices Yates, Seymore, and Guzman.

Do not publish C Tex. R.
App. P. 47.3(b).





